                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


    In re:                                                        Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                              Case No. 20-81688-CRJ-11
    et al.,1
                                                                  Jointly Administered
                                 Debtors.



                                         NOTICE OF APPLICATION

        The First Monthly Application of Akin Gump Strauss Hauer & Feld LLP as Counsel to
the Restructuring Committee for Allowance of Compensation and Reimbursement of Expenses
for the Period from July 28, 2020 through August 31, 2020 (the “Application”) has been filed with
the Bankruptcy Court. The Application seeks (i) allowance of compensation for services rendered
during the period from July 28, 2020 to August 31, 2020 (the “Compensation Period”) in the amount
of $286,582.00, (ii) payment of compensation for services rendered during the Compensation Period
in the amount of $229,265.60, representing 80% of the fees incurred during the Compensation Period,
and (iii) reimbursement of actual, necessary, and documented out-of-pocket expenses incurred during
the Compensation Period in the amount of $19.00.

        Objections to the Application, if any, are required to be filed on or before November 9, 2020
at 4:00 p.m. (CT) (the “Objection Deadline”) with the Clerk of the United States Bankruptcy Court
for the Northern District of Alabama.

         At the same time, you must also serve a copy of the objection so as to be received by the
following on or before the Objection Deadline: (i) the Debtors, Remington Outdoor Company, Inc.,
et al., 100 Electronics Boulevard SW, Huntsville, AL 35824; (ii) counsel to the Debtors, O’Melveny
& Myers LLP, 400 South Hope Street, Los Angeles, CA 90071 (Attn: Stephen H. Warren, Esq. and
Jennifer Taylor, Esq.); (iii) co-counsel to the Debtors, Burr & Forman LLP, 420 20th Street North,
Suite 3400, Birmingham, AL 35203 (Attn: Derek F. Meek, Esq. and Hanna Lahr, Esq.); (iv) counsel
for the Restructuring Committee, Akin Gump Strauss Hauer & Feld LLP, 2300 N. Field Street, Suite
1800, Dallas TX 75201 (Attn: Sarah Link Shultz); (v) counsel to Whitebox Advisors LLC, as Priority
Term Loan Lender, Brown Rudnick LLP, One Financial Center, Boston, MA 02111 (Attn: Andreas
Andromalos, Esq. and Tia C. Wallach, Esq.), and Balch & Bingham LLP, 1901 Sixth Avenue North,
Suite 1500, Birmingham, AL 35203 (Attn: Jeremy Retherford, Esq.); (vi) counsel to Cantor Fitzgerald

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA
Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655); Huntsville
Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor Services, LLC
(2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville, Alabama 35824.




Case 20-81688-CRJ11              Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                              Desc
                                   Main Document    Page 1 of 38
Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority Term Loan Credit
Agreement, Shipman & Goodwin LLP, One Constitution Plaza, Hartford, CT 06103 (Attn: Kathleen
M. LaManna, Esq. and Nathan Plotkin, Esq.), and Balch & Bingham LLP, 1901 Sixth Avenue North,
Suite 1500, Birmingham, AL 35203 (Attn: Jeremy Retherford, Esq.); (vii) counsel to Ankura Trust
Company, LLC as FILO Agent under the Debtors’ prepetition FILO Term Loan Agreement and Exit
Term Loan Agent under the Exit Term Loan Agreement, Davis Polk & Wardwell, 450 Lexington
Avenue, New York, NY 10017 (Attn: Donald Bernstein, Esq. and Joanna McDonald, Esq.), and Hand
Arendall Harrison Sale, 1810 5th Avenue North, Suite 400, Birmingham, AL 35203 (Attn: Benjamin
S. Goldman, Esq.); (viii) counsel to Franklin Advisors, Inc., as FILO Lender, Pillsbury Winthrop Shaw
Pittman LLP, Four Embarcadero Center, 22nd Floor, San Francisco, CA 94111-5998 (Attn: Joshua
Morse, Esq. and Andrew Alfano, Esq.), and Christian & Small LLP, 505 North 20th Street, Suite 1800,
Birmingham, AL 35203 (Attn: Daniel Sparks, Esq. and Bill Bensinger, Esq.); (ix) counsel to the
United Mine Workers of America, 18354 Quantico Gateway Dr., Suite 200, Triangle, VA 22172 (Attn:
Deborah Stern, Esq.); (x) the Office of the Bankruptcy Administrator for the Northern District of
Alabama, 400 Well Street, Decatur, AL 35602 (Attn: Richard M. Blythe, Esq.); (xi) counsel for the
Committee, Fox Rothschild LLP, 345 California Street, Suite 2200, San Francisco, CA 94104 (Attn:
Michael A. Sweet) and Baker Donelson Bearman Caldwell & Berkowitz, P.C., 420 20th Street North,
Birmingham, AL 35203 (Attn: Matthew Cahill, Esq. and Rita Hullet); and (xii) Direct Fee Review
LLC.

     PLEASE TAKE FURTHER NOTICE THAT PURSUANT TO THE ORDER
ESTABLISHING    PROCEDURES     FOR   INTERIM    COMPENSATION     AND
REIMBURSEMENT EXPENSES OF PROFESSIONALS [DOCKET NO. 114], IF NO
OBJECTIONS ARE FILED AND SERVED IN ACCORDANCE WITH THE ABOVE
PROCEDURE, THEN THE DEBTORS WILL BE AUTHORIZED TO PAY 80% OF
REQUESTED INTERIM FEES AND 100% OF REQUESTED INTERIM EXPENSES
WITHOUT FURTHER ORDER OF THE COURT. ONLY IF AN OBJECTION IS
PROPERLY AND TIMELY FILED IN ACCORDANCE WITH THE ABOVE PROCEDURE
WILL A HEARING BE HELD ON THE APPLICATION. ONLY THOSE PARTIES TIMELY
FILING AND SERVING OBJECTIONS WILL RECEIVE NOTICE AND BE HEARD AT
SUCH HEARING.

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                                                 2

Case 20-81688-CRJ11        Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                             Main Document    Page 2 of 38
Dated: October 28, 2020

                                      /s/ Derek F. Meek
                                      BURR & FORMAN LLP
                                      Derek F. Meek
                                      Hanna Lahr
                                      420 20th Street, Suite 3400
                                      Birmingham, AL 35203
                                      Telephone:(205) 251-3000
                                      Facsimile: (205) 458-5100
                                      Email: dmeek@burr.com
                                              hlahr@burr.com

                                      Counsel for the Debtors and Debtors in Possession

                                      - and -

                                      AKIN GUMP STRAUSS HAUER & FELD LLP
                                      Sarah Link Schultz (admitted pro hac vice)
                                      2300 N. Field Street, Suite 1800
                                      Dallas, TX 75201
                                      Telephone: (214) 969-2800
                                      Facsimile: (214) 969-4343
                                      Email: sschultz@akingump.com

                                      Counsel for the Restructuring Committee




                                                3

Case 20-81688-CRJ11       Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47         Desc
                            Main Document    Page 3 of 38
                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ-11
    et al.,1
                                                                 Jointly Administered
                                Debtors.


               SUMMARY OF FIRST MONTHLY APPLICATION OF
           AKIN GUMP STRAUSS HAUER & FELD LLP FOR ALLOWANCE
    OF COMPENSATION FOR SERVICES RENDERED AND FOR REIMBURSEMENT
        OF EXPENSES AS COUNSEL TO THE RESTRUCTURING COMMITTEE
         FOR THE PERIOD FROM JULY 28, 2020 THROUGH AUGUST 31, 2020


Name of applicant:                                           Akin Gump Strauss Hauer & Feld LLP

Authorized to provide professional services to:              The Restructuring Committee of the Board of Directors
                                                             of Remington Outdoor Company, Inc.

Date of retention:                                           August 11, 2020
Period for which compensation and
reimbursement is sought:                                     July 28, 2020 through August 31, 2020
Amount of compensation sought as
actual, reasonable and necessary:                            $286,582.00
Amount of compensation for which payment is sought
pursuant to this Application:                      $229,265.60
Amount of Expense Reimbursement sought
as actual, reasonable and necessary:                         $19.00

This is a(n):   X Monthly        __ Interim      __ Final Application

Prior applications: None


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville,
Alabama 35824.




Case 20-81688-CRJ11              Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                           Desc
                                   Main Document    Page 4 of 38
                                 COMPENSATION BY INDIVIDUAL

    Name of Professional         Position of the Applicant              Hourly            Total        Total
    Person                                                              Billing           Billed       Compensation
                                                                        Rate              Hours
    Sarah Link Schultz            Partner                                  $1,595.00          47.20         $75,284.00
    Howard B. Jacobson            Partner                                  $1,240.00            1.70         $2,108.00
    Stephen Kuhn                  Partner                                  $1,595.00          24.40         $38,918.00
    Lauren Leyden                 Partner                                  $1,280.00          17.90         $22,912.00
    Anne Borkovic                 Partner                                  $1,015.00            1.00         $1,015.00
    Marty L. Brimmage             Partner                                  $1,595.00            1.80         $2,871.00
    Erica McGrady                 Senior Counsel                             $965.00          50.40         $48,636.00
    Joanna Newdeck                Senior Counsel                           $1,195.00          39.30         $46,963.50
    Jon Chatalian                 Senior Counsel                             $975.00            4.20         $4,095.00
    Sharon Davidov                Counsel                                  $1,010.00            1.90         $1,919.00
    Grace O’Donnell               Associate                                  $725.00            1.40         $1,015.00
    Chance Hiner                  Associate                                  $775.00          48.90         $37,897.50
    Amanda Praestholm             Associate                                  $650.00            3.70         $2,405.00
    Brenda Kemp                   Paralegal                                  $370.00            1.20           $444.00
    Suzanne Csizmadia             Paralegal                                  $330.00            0.30             $99.00
    TOTALS2                                                                                  245.30       $286,582.00




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  On several occasions, numerous timekeepers were present and participated in meetings and hearings. Akin Gump
believes that the efforts of all attorneys/paralegals working on behalf of the Restructuring Committee were necessary
and beneficial to the Debtors and their estates. Notwithstanding, given the nature of the representation and in an
attempt to avoid duplication of efforts, Akin Gump has voluntarily reduced the amount of its fees by $11,864.00
related to meetings and/or hearings with multiple timekeepers in attendance.

                                                         2

Case 20-81688-CRJ11              Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                            Desc
                                   Main Document    Page 5 of 38
                      COMPENSATION BY PROJECT CATEGORY

  Task                       Project Category                 Total    Total Fees
  Code                                                        Hours
  002    General Case Administration                           12.10    $9,353.50
  008    Court Hearings                                        33.60   $40,910.00
  009    Financial Reports and Analysis                         3.10    $3,326.50
  010    DIP, Cash Collateral Usage and Exit Financing          6.30    $9,048.50
  017    General Adversary Proceedings/Litigation Matters      27.50   $28,344.50
  018    Tax Issues                                             4.30    $4,903.50
  019    Labor Issues/Employee Benefits                        22.90   $26,881.00
  020    Board Meetings and Communications                     55.90   $68,541.50
  023    Asset Dispositions and Liquidation/363 Asset Sales    77.80   $93,486.00
  033    Regulatory Issues                                      1.80    $1,787.00




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Case 20-81688-CRJ11       Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47   Desc
                            Main Document    Page 6 of 38
                             EXPENSE SUMMARY

                      Expense Category                       Total Expenses
Court Costs                                                           $19.00
TOTAL DISBURSEMENTS                                                   $19.00




                                         4

Case 20-81688-CRJ11    Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47   Desc
                         Main Document    Page 7 of 38
                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


    In re:                                                        Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                              Case No. 20-81688-CRJ-11
    et al.,1
                                                                  Jointly Administered
                                 Debtors.


                FIRST MONTHLY APPLICATION OF AKIN GUMP
                STRAUSS HAUER & FELD LLP FOR ALLOWANCE
            OF COMPENSATION FOR SERVICES RENDERED AND FOR
       REIMBURSEMENT OF EXPENSE AS COUNSEL TO THE RESTRUCTURING
     COMMITTEE FOR THE PERIOD FROM JULY 28, 2020 THROUGH AUGUST 31, 2020

             Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”), as counsel to the Restructuring

Committee of the Board of Directors of Remington Outdoor Company, Inc. (the “Restructuring

Committee”), pursuant to section 363 of title 11 of the United States Code (the “Bankruptcy Code”),

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Local Rules of the United

States Bankruptcy Court for the Northern District of Alabama (the “Local Bankruptcy Rules”), and

the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals [Docket No. 114] (the “Interim Compensation Order”), hereby files this First

Monthly Application of Akin Gump Strauss Hauer & Feld LLP for Allowance of Compensation for

Services Rendered and for Reimbursement of Expenses as Counsel to the Restructuring Committee for

the Period from July 28, 2020 Through August 31, 2020 (the “Application”). By the Application, for

the period from July 28, 2020 through and including August 31, 2020 (the “Compensation Period”),



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA
Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655); Huntsville
Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor Services, LLC
(2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville, Alabama 35824.




Case 20-81688-CRJ11              Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                              Desc
                                   Main Document    Page 8 of 38
Akin Gump seeks (a) allowance of compensation for services rendered in the amount of $286,582.00,

(b) authorization for the Debtors to pay Akin Gump $229,265.60 (representing 80% of $286,582.00)

pursuant to the terms of the Interim Compensation Order, and (c) allowance and payment of $19.00

as reimbursement of actual, necessary, and documented out-of-pocket expenses. In support of the

Application, Akin Gump respectfully states:

                                         BACKGROUND

       1.     On July 27, 2020 (the “Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). The Chapter 11

Cases have been jointly consolidated for administrative purposes only.

       2.     The Debtors are authorized to continue to operate their businesses and manage their

properties as debtors and debtors in possession pursuant to Bankruptcy Code sections 1107(a) and

1108. No party has requested the appointment of a trustee or examiner in the Chapter 11 Cases.

       3.     On July 30, 2020, the Court entered the Interim Compensation Order.

       4.     On August 6, 2020, the Bankruptcy Administrator for the United States Bankruptcy

Court for the Northern District of Alabama appointed an official committee of unsecured creditors

(the “Creditors’ Committee”) in the Chapter 11 Cases.

       5.     On August 11, 2020, the Court entered the Final Order Pursuant to Bankruptcy Code

Section 363 Authorizing the Debtors to Pay Fees and Reimburse Expenses Incurred by Akin Gump

Strauss Hauer & Feld LLP as Special Counsel to the Restructuring Committee [Docket No. 289] (the

“Akin Gump Retention Order”), which authorized the Debtors to satisfy, pay, and reimburse on

behalf of the Restructuring Committee all reasonable charges for professional services rendered by

Akin Gump as counsel to the Restructuring Committee on or after the Petition Date.



                                                 2

Case 20-81688-CRJ11        Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                             Main Document    Page 9 of 38
       6.      On September 10, 2020, the Court entered the Order Authorizing Appointment of

Independent Fee Examiner [Docket No. 626] appointing Direct Fee Review LLC as the fee examiner

in the Chapter 11 Cases.

                           COMPENSATION PAID AND ITS SOURCE

       7.      All Akin Gump services for which compensation is requested in this Application were

performed for or on behalf of the Restructuring Committee.

       8.      Except to the extent of the retainer paid to Akin Gump (as described in the application

seeking approval of Akin Gump’s employment), during the Compensation Period, Akin Gump has

received no payment and no promises for payment from any source for services rendered or to be

rendered in any capacity whatsoever in connection with the matters covered by this Application. There

is no agreement or understanding between Akin Gump and any person other than the partners of Akin

Gump for the sharing of compensation to be received for services rendered in these cases.

                                        FEE STATEMENT

       9.      The fee statement for the Compensation Period is attached hereto as Exhibit A. This

statement contains daily time logs describing the time spent by each attorney and paraprofessional for

this Compensation Period. To the best of Akin Gump’s knowledge, this Application complies with

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules,

and the Interim Compensation Order.

                            ACTUAL AND NECESSARY EXPENSES

       10.     A summary of actual and necessary expenses incurred by Akin Gump during the

Compensation Period is attached hereto as Exhibit B.




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Case 20-81688-CRJ11         Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47               Desc
                             Main Document     Page 10 of 38
                             SUMMARY OF SERVICES RENDERED

       11.     The partners, counsel, and associates of Akin Gump who have rendered professional

services in the Chapter 11 Cases, and the paraprofessionals of Akin Gump who have provided services

to the attorneys in the Chapter 11 Cases, are listed in the tables above. Akin Gump has advised the

Restructuring Committee on a regular basis with respect to various matters in connection with the

Chapter 11 Cases, consulted with the Debtors in regards to the proposed sale of substantially all its

assets, reviewed various materials in connection with the Debtors’ proposed sale and pleadings

submitted to the Court for consideration, and has otherwise performed all necessary professional

services, which services are grouped into the categories set forth in the table above and detailed in

Exhibit A attached hereto. Set forth below is a brief narrative description of the services rendered for,

or on behalf of, the Restructuring Committee.

       A.      General Case Administration

               Fees: $9,353.50; Total Hours: 12.10

       12.     During the Compensation Period, Akin Gump reviewed and circulated certain

pleadings filed in the Chapter 11 Cases; calendared court hearings; drafted pro hac vice motions and

reviewed other local jurisdiction issues; and coordinated pleading and transcript gathering.

       B.      Court Hearings

               Fees: $40,910.00; Total Hours: 33.60

       13.     During the Compensation Period, Akin Gump attended two status conferences and five

hearings, including the Debtors’ first day hearings, second day hearings, and the hearing on approval

of the Debtors’ bid procedures.

       C.      Financial Reports and Analysis

               Fees: $3,326.50; Total Hours: 3.10



                                                    4

Case 20-81688-CRJ11         Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                  Desc
                             Main Document     Page 11 of 38
       14.     During the Compensation Period, Akin Gump attended the Debtors’ earnings call and

reviewed related materials; and review filed schedules and statements.

       D.      DIP, Cash Collateral Usage and Exit Financing

               Fees: $9,048.50; Total Hours: 6.30

       15.     During the Compensation Period, Akin Gump, among other things, reviewed draft cash

collateral materials, including drafts of the final cash collateral order and reporting requirements; and

communicated with the Debtors and counsel for the lenders regarding use of cash collateral and the

form of the final cash collateral order.

       E.      General Adversary Proceedings/Litigation Matters

               Fees: $28,344.50; Total Hours: 27.50

       16.     During the Compensation Period, Akin Gump, among other things, reviewed the

Creditors’ Committee’s requests for information; produced materials regarding the same; reviewed

the Creditors’ Committee’s 2004 motion and drafted pleadings and responses regarding the same; and

communicated with the Debtors regarding the Creditors’ Committee’s document requests and 2004

motion.

       F.      Tax Issues

               Fees: $4,903.50; Total Hours: 4.30

       17.     During the Compensation Period, Akin Gump, among other things, analyzed and

researched certain tax issues implicated in the Chapter 11 Cases.

       G.      Labor Issues/Employee Benefits

               Fees: $26,881.00; Total Hours: 22.90




                                                    5

Case 20-81688-CRJ11          Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                              Main Document     Page 12 of 38
       18.    During the Compensation Period, Akin Gump, among other things, reviewed materials

and analyzed issues regarding labor concerns implicated in the sale of substantially all the Debtors’

assets; reviewed and analyzed pleadings filed by, and communications with, United Mine Workers of

America and other labor parties; and communicated and coordinated with the Debtors regarding union

outreach.

       H.     Board Meetings and Communications

              Fees: $68,541.50; Total Hours: 55.90

       19.    During the Compensation Period, Akin Gump, among other things, coordinated update

calls with the Restructuring Committee; prepared for and attended update calls with the Restructuring

Committee and the various professionals of the Debtors; reviewed and analyzed materials for the

Restructuring Committee from the Debtors’ professionals; drafted Restructuring Committee minutes;

and otherwise advised the Restructuring Committee regarding the Debtors’ proposed transactions.

       I.     Asset Dispositions and Liquidation/363 Sales

              Fees: $93,486.00; Total Hours: 77.80

       20.    During the Compensation Period, Akin Gump, among other things, participated in calls

with the Debtors’ professionals regarding the sales process and accompanying sale strategy; reviewed

and commented on various asset purchase agreements; reviewed and analyzed various bids and related

materials; researched and analyzed certain sale issues; reviewed and analyzed filed pleadings related

to bidding procedures and the Debtors’ sale motion, including objections to the Debtors’ bidding

procedures; and advised the Restructuring Committee with respect to the sale process.

       J.     Regulatory Issues

              Fees: $1,787.00; Total Hours: 1.80




                                                   6

Case 20-81688-CRJ11        Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                            Main Document     Page 13 of 38
        21.    During the Compensation Period, Akin Gump, among other things, reviewed and

analyzed licensing and certain regulatory filing issues related to the Debtors’ sale of substantially all

its assets.

                                   VALUATION OF SERVICES

        22.    Attorneys and paraprofessionals of Akin Gump have expended a total of 245.30 hours

in connection with this matter during the Compensation Period, as follows:

                                  Attorneys            Hourly Rate    Hours
                           Sarah Link Schultz             $1,595.00     47.20
                           Howard B. Jacobson             $1,240.00      1.70
                           Stephen Kuhn                   $1,595.00     24.40
                           Lauren Leyden                  $1,280.00     17.90
                           Anne Borkovic                  $1,015.00      1.00
                           Marty L. Brimmage              $1,595.00      1.80
                           Erica McGrady                   $965.00      50.40
                           Joanna Newdeck                 $1,195.00     39.30
                           Jon Chatalian                   $975.00       4.20
                           Sharon Davidov                 $1,010.00      1.90
                           Grace O’Donnell                 $725.00       1.40
                           Chance Hiner                    $775.00      48.90
                           Amanda Praestholm               $650.00       3.70
                              Paraprofessionals        Hourly Rate     Hours
                           Brenda Kemp                      $690.00       1.20
                           Suzanne Csizmadia                $660.00        0.3

        The nature of the work performed by these persons is fully set forth in Exhibit A attached

hereto. These are Akin Gump’s normal hourly rates for work of this character. The reasonable value




                                                   7

Case 20-81688-CRJ11         Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                  Desc
                             Main Document     Page 14 of 38
of the services rendered by Akin Gump to the Debtors during the Compensation Period is

$286,582.00.2

         23.      Pursuant to the Akin Gump Retention Order, Akin Gump has been retained by the

Debtors in accordance with Bankruptcy Code section 363. Notwithstanding, Akin Gump has agreed

to apply for compensation for professionals services rendered and reimbursement of expenses incurred

in connection with the Chapter 11 Cases subject to the Court’s approval and in compliance with

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules,

and any other applicable procedures and order of the Court. Thus, in accordance with the factors

enumerated in Bankruptcy Code section 330, it is respectfully submitted that the amount requested by

Akin Gump is fair and reasonable given (a) the complexity of these cases, (b) the time expended, (c)

the nature and extent of the services rendered, (d) the value of such services, and (e) the costs of

comparable services other than in a case under this title. Moreover, Akin Gump has reviewed the

requirements with the Bankruptcy Rules and the Local Bankruptcy Rules and believes that this

Application is in compliance.

                                  [Remainder of page intentionally left blank]




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 As mentioned above, on several occasions, numerous timekeepers were present and participated in meetings and hearings.
Akin Gump believes that the efforts of all attorneys/paralegals working on behalf of the Restructuring Committee were
necessary and beneficial to the Debtors and their estates. Notwithstanding, given the nature of the representation and in
an attempt to avoid duplication of efforts, Akin Gump has voluntarily reduced the amount of its fees by $11,864.00 related
to meetings and/or hearings with multiple timekeepers in attendance.

                                                            8

Case 20-81688-CRJ11              Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                             Desc
                                  Main Document     Page 15 of 38
       WHEREFORE, Akin Gump respectfully requests that the Court, in connection with services

rendered and expenses incurred during the Compensation Period, (a) allow compensation to Akin

Gump in the amount of $286,582.00, (b) authorize the Debtors to pay Akin Gump the amount of

$229,265.60, representing 80% of $286,582.00, pursuant to the terms of the Interim Compensation

Order, (c) authorize the Debtors to pay Akin Gump the amount of $19.00 as reimbursement for 100%

of the actual, necessary and documented out-of-pocket expenses incurred, and (d) grant such other and

further relief as this Court may deem just and proper.


Dated: October 28, 2020

                                           /s/ Derek F. Meek
                                           BURR & FORMAN LLP
                                           Derek F. Meek
                                           Hanna Lahr
                                           420 20th Street, Suite 3400
                                           Birmingham, AL 35203
                                           Telephone:(205) 251-3000
                                           Facsimile: (205) 458-5100
                                           Email: dmeek@burr.com
                                                   hlahr@burr.com

                                           Counsel for the Debtors and Debtors in Possession

                                           - and -

                                           AKIN GUMP STRAUSS HAUER & FELD LLP
                                           Sarah Link Schultz (admitted pro hac vice)
                                           2300 N. Field Street, Suite 1800
                                           Dallas, TX 75201
                                           Telephone: (214) 969-2800
                                           Facsimile: (214) 969-4343
                                           Email: sschultz@akingump.com

                                           Counsel for the Restructuring Committe




                                                     9

Case 20-81688-CRJ11         Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47               Desc
                             Main Document     Page 16 of 38
                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ-11
    et al.,1
                                                                 Jointly Administered
                                Debtors.



                           VERIFICATION OF SARAH LINK SCHULTZ

                  I, Sarah Link Schultz, hereby declare the following under penalty of perjury:

             1.   I am a partner of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) and am

one of the lead attorneys from Akin Gump working on behalf of the Restructuring Committee in

the above-captioned chapter 11 cases. I am a member of good standing of the State Bar of Texas.

There are no disciplinary proceedings pending against me.

             2.   I have personally performed many of the legal services rendered by Akin Gump as

counsel for the Restructuring Committee and am thoroughly familiar with all other work

performed on behalf of the Restructuring Committee by the lawyers and paraprofessionals in the

firm.

             3.   The facts set forth in the foregoing Application are true and correct to the best of

my knowledge, information and belief.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville,
Alabama 35824.




Case 20-81688-CRJ11              Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                           Desc
                                  Main Document     Page 17 of 38
         4.     I have reviewed Local Bankruptcy Rule 2016 and believe that the Application for

Akin Gump complies with Local Bankruptcy Rule 2016 and all other applicable Local Bankruptcy

Rules.

         5.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

                                                     Respectfully submitted,

                                                     /s/ Sarah Link Schultz

                                                     Sarah Link Schultz

                                                     as Partner of Akin Gump Strauss Hauer &
                                                     Feld LLP




                                                 2

Case 20-81688-CRJ11         Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                             Main Document     Page 18 of 38
                              EXHIBIT A




Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47   Desc
                       Main Document     Page 19 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR                                                       Invoice Number                1907332
COMPANY, INC.                                                                                                 Invoice Date                  10/27/20
ATTN: JEFF BROWN                                                                                              Client Number                  102253
100 ELECTRONICS BLVD SW                                                                                       Matter Number                     0001
HUNTSVILLE, AL 35824




Re: RESTRUCTURING



FOR PROFESSIONAL SERVICES RENDERED:


Date          Tkpr                                                                                                 Hours            Value
07/28/20      CHH                  Review first day filings re S. Schultz inquiry (.8);                             1.80        $1,395.00
                                   emails with J. Newdeck re status conference (.2);
                                   review order and coordinate same (.2); review emails
                                   with local counsel re pro hac vice admission (.2);
                                   review and revise motion re same (.1); emails with J.
                                   Berry-Woods re same (.1, .1); coordinate calendar for
                                   first day hearings (.1).
07/28/20      CHH                  Attend first day status conference.                                               2.20       $1,705.00
07/28/20      CHH                  Coordinate restructuring committee call.                                          0.20         $155.00
07/28/20      SBK                  Telephone conference with S. Schultz and E.                                       1.90       $3,030.50
                                   McGrady re transaction issues list (.8); emails with E.
                                   McGrady and O’Melveny re same (.2); telephone
                                   conference with O’Melveny, S. Schultz, J. Newdeck
                                   and E. McGrady re same (.7); email to S. Schultz re
                                   same (.2).
07/28/20      EDM                  Conference with S. Schultz and S. Kuhn re interested                              4.40       $4,246.00
                                   party purchase agreement issue list (.8); emails with
                                   S. Kuhn and O’Melveny re same (.2); conference with
                                   S. Kuhn, S. Schultz, J. Newdeck and O’Melveny re
                                   same (.7); review asset purchase agreement re same
                                   and markup same (2.7).
07/28/20      JFN                  Emails with C. Hiner re chapter 11 filing and                                     0.20        $239.00
                                   upcoming status conference.
07/28/20      JFN                  Participate in call with S. Schultz, S. Kuhn, E.                                  0.70        $836.50
                                   McGrady and O’Melveny re pending sale issues.
07/28/20      SLS                  Participate in case status conference.                                            2.20       $3,509.00
07/28/20      SLS                  Participate in call with S. Kuhn and E. McGrady re                                1.50       $2,392.50
                                   sale issue list (.8); update call with S. Kuhn, E.
                                   McGrady, J. Newdeck and O’Melveny re same (.7).
07/29/20      JMC                  Review correspondence from L. Leyden re labor                                     0.20        $195.00
                                   considerations and issues.
07/29/20      CHH                  Emails with D. Meek re pro hac vice and review same                               1.20        $930.00
                                   (.3); emails with S. Schultz and J. Newdeck re first
                                   day hearing (.2); review emails from S. Schultz and J.
                                   Newdeck re transcript (.1, .1); review emails from
                                   local counsel re pro hac motion (.1); email to J.
                                   Newdeck re hearing (.1); review docket re interim
                    2300 N. Field Street | Suite 1800 | Dallas, TX 75201 | 214.969.2800 | fax 214.969.4343 | www.akingump.com


      Case 20-81688-CRJ11                Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                                         Desc
                                          Main Document     Page 20 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                      Page 2
Invoice Number: 1907332                                                                                  10/27/20


Date          Tkpr                                                                   Hours      Value
                         orders and email to J. Newdeck re same (.3).
07/29/20      CHH        Coordinate restructuring committee call.                     0.70     $542.50
07/29/20      CHH        Review docket filings and court orders re S. Schultz         2.10   $1,627.50
                         inquiry and first day hearing (1.1); attend first day
                         hearing (1).
07/29/20      SBK        Emails to/from E. McGrady re restructuring                   1.10   $1,754.50
                         committee meeting minutes follow-up question (.2)
                         and review same (.1); review proposed materials from
                         Ducera for restructuring committee meeting (.3);
                         attend restructuring committee meeting (.5).
07/29/20      LHL        Emails with R. Janger, P. Moss, J. Chatalian and J.          0.20    $256.00
                         Kohn re labor matters.
07/29/20      JFN        Participate in restructuring committee call.                 0.50     $597.50
07/29/20      JFN        Participate in first day hearing.                            1.00   $1,195.00
07/29/20      JFN        Emails with S. Schultz and C. Hiner re transcripts (.1,      0.50     $597.50
                         .1); emails with S. Schultz and C. Hiner re hearing
                         and interim orders (.2); review C. Hiner email re same
                         (.1).
07/29/20      SLS        Review email from S. Warren regarding use of cash            1.20   $1,914.00
                         collateral (.1); telephone call with O’Melveny re same
                         (.5); telephone call with counsel to K. D'Arcy
                         regarding auction process (.2); telephone call with S.
                         Warren regarding same (.2); telephone call with K.
                         D'Arcy regarding same (.2).
07/29/20      SLS        Update call with Special Committee.                          0.50     $797.50
07/29/20      SLS        Prepare for hearing (.5); email to C. Hiner re same          2.10   $3,349.50
                         (.1); emails with C. Hiner and J. Newdeck re same
                         (.2); telephone call with S. Warren regarding first day
                         hearing (.3); participate in same (1.0).
07/30/20      CHH        Emails with J. Newdeck re hearing (.1, .1); review           1.70   $1,317.50
                         court order re same (.2); attend first day hearings
                         (1.3).
07/30/20      CHH        Coordinate with J. Berry-Woods re timekeeping (.3);          0.90    $697.50
                         review redline proposed order re pro hoc motion (.2);
                         emails with S. Schultz and H. Lahr re same (.1, .1);
                         emails to timekeepers about working group list and
                         tasks (.2).
07/30/20      SBK        Emails to/from O’Melveny re organizing sale update           1.30   $2,073.50
                         call (.1); attend call with E. McGrady, J. Newdeck,
                         O’Melveny and Ducera re same (.6); telephone
                         conference with E. McGrady re same (.3); follow up
                         emails to/from E. McGrady, O’Melveny and Ducera
                         re sale update (.1); email to S. Schultz and J. Newdeck
                         re same (.2).
07/30/20      SBK        Emails to/from Akin restructuring committee re               1.00   $1,595.00
                         organizing call (.2); attend restructuring committee
                         call (.8).
07/30/20      EDM        Call with S. Kuhn, O’Melveny and Ducera re                   1.20   $1,158.00
                         potential bidder issues and strategy (.6); follow up call
                         with S. Kuhn re same (.3); emails with S. Kuhn, J.
                         Newdeck, O’Melveny, and Ducera re same (.1);
                         review materials re same (.2).
07/30/20      JFN        Review S. Kuhn sale update email (.2) and emails             0.90   $1,075.50
                         from O’Melveny re same (.1); participate in call with
                         O’Melveny, S. Kuhn, and E. McGrady re same (.6).
07/30/20      JFN        Schedule restructuring committee call and emails with        1.00   $1,195.00
                         C. Hiner re same (.2); participate in call with S.
                         Schultz, S. Kuhn and restructuring committee re same


       Case 20-81688-CRJ11    Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                               Main Document     Page 21 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                     Page 3
Invoice Number: 1907332                                                                                 10/27/20


Date          Tkpr                                                                  Hours      Value
                         (.8).
07/30/20      JFN        Attend telephonic first day hearing (partial) (1.1);        1.30   $1,553.50
                         emails with C. Hiner re same (.1, .1).
07/30/20      SLS        Review communications from chambers regarding               0.60    $957.00
                         cash collateral order (.1, .1); communications with
                         O’Melveny and Ducera teams regarding sale process
                         (.1, .1); communications with S. Warren regarding
                         Ducera engagement letter (.1, .1).
07/30/20      SLS        Call with restructuring committee re sale update.           0.80   $1,276.00
07/30/20      SLS        Prepare for first day hearing (.2); participate in same     1.50   $2,392.50
                         (1.3).
07/31/20      JMC        Teleconference with L. Leyden, G. O’Donnell, J.             1.40   $1,365.00
                         Chatalian, J. Kohn and R. Janger re sale process and
                         labor issues (.5); review correspondence from L.
                         Leyden re same (.1); review correspondence from S.
                         Warren re union outreach (.1); review case law and
                         research collective bargaining issues (.7).
07/31/20      SBK        Emails/telephone conference with S. Schultz, B.             0.60    $957.00
                         Meyer and J. Reisner re going forward approach in
                         sale process (.3); telephone conference with S. Schultz
                         re next steps (.1); emails with J. Newdeck and
                         O’Melveny re bidder update call (.2).
07/31/20      LHL        Telephone conference with G. O’Donnell, J.                  3.20   $4,096.00
                         Chatalian, J. Kohn and R. Janger re labor and pension
                         matters (.5); email to S. Schultz summary of same
                         (.2); emails with S. Warren re same (.1 x 5); review
                         case law and review labor related filings (2.0).
07/31/20      JFN        Emails with S. Kuhn and O’Melveny re status of sale         0.30    $358.50
                         process (.2); review bidder update materials (.1).
07/31/20      GMO        Conference with L. Leyden, J. Chatalian, J. Kohn and        0.80    $580.00
                         R. Janger re labor matters (.5); email to L. Leyden re
                         labor matters and review of case law (.3).
07/31/20      SLS        Email with J. Reisner regarding sale process (.1);          1.20   $1,914.00
                         telephone call with J. Reisner, S. Kuhn and B. Meyer
                         regarding same (.3); draft email to J. Reisner
                         regarding same (.2); follow up call with S. Kuhn re
                         same (.1); telephone call with JP Motley regarding
                         same (.3); telephone call with S. Warren regarding
                         recent discussions with bidders (.2).
08/01/20      SBK        Teleconference with Akin, Ducera & O’Melveny re             0.60    $957.00
                         next steps/alternatives (partial) (.3); teleconference
                         with S. Schultz and E. McGrady re follow-up (.3).
08/01/20      EDM        Call with O’Melveny, Ducera and the Akin team to            1.10   $1,061.50
                         discuss status of discussions with the various bidders
                         and strategy (.5); follow up call with S. Schultz and S.
                         Kuhn re same (.3); review bidder update materials
                         (.3).
08/01/20      JFN        Participate in update call with Akin, Ducera, and           0.50    $597.50
                         O’Melveny re sale process.
08/01/20      SLS        Telephone call with Akin, O’Melveny and Ducera              0.80   $1,276.00
                         regarding status of sale process (.5); follow-up call
                         with S. Kuhn and E. McGrady regarding same (.3).
08/02/20      CHH        Review Ducera sale materials re potential bid and           0.70    $542.50
                         implement comments re same (.5); emails with S.
                         Schultz, S. Kuhn, and E. McGrady re same (.2).
08/02/20      SBK        Review/comment on deck for restructuring committee          0.60    $957.00
                         re potential bidder deal (.4); emails to/from S.
                         Schultz, E. McGrady, and C. Hiner re same (.2).


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                              Main Document     Page 22 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                   Page 4
Invoice Number: 1907332                                                                               10/27/20


Date         Tkpr                                                                 Hours       Value
08/02/20     EDM         Review and revise bidder presentation proposal (1.6);     1.80   $1,737.00
                         emails with S. Kuhn, E. McGrady and C. Hiner re
                         same (.2).
08/02/20     SLS         Review and comment on potential bidder presentation       0.40    $638.00
                         (.2); emails with E. McGrady, S. Kuhn and C. Hiner
                         re same (.2).
08/02/20     SLS         Review and comment on 8-K regarding cash collateral       0.10    $159.50
                         stipulation.
08/03/20     JMC         Review hearing transcript and analyze labor issues        1.00    $975.00
                         (.8); email exchange with L. Leyden, S. Kuhn, and C.
                         Hiner re same (.2).
08/03/20     SD          Review J. Newdeck tax inquiry and research re same.       0.90     $909.00
08/03/20     CHH         Coordinate restructuring committee call.                  0.20     $155.00
08/03/20     CHH         Review email from H. Lahr re transcripts (.1); emails     1.30   $1,007.50
                         with L. Leyden re labor issues and transcripts (.2);
                         review transcripts and materials re S. Schultz inquiry
                         (.8); emails with S. Kuhn, L. Leyden and J. Chatalian
                         re labor issues (.2).
08/03/20     SBK         Emails with L. Leyden, C. Hiner, and J. Chatalian re      0.40    $638.00
                         pension and labor issues (.2); review materials re
                         same (.2).
08/03/20     LHL         Review and comment re first day hearing and related       2.00   $2,560.00
                         labor and pension matters (1.6); emails with S. Kuhn,
                         C. Hiner and J. Chatalian re same (.2); emails with C.
                         Hiner re same (.2).
08/03/20     JFN         Review filings re tax inquiry (.4); email same to S.      0.60    $717.00
                         Davidov (.2).
08/04/20     CHH         Attend call with E. McGrady, S. Kuhn, Ducera, and         1.50   $1,162.50
                         O’Melveny re potential stalking horse bid (.5);
                         coordinate precall re sale update (.2); review Ducera
                         materials re same (.2); attend sale update call with
                         Akin, Ducera, and O’Melveny (.6).
08/04/20     CHH         Review first day pleadings re interim compensation.       0.30     $232.50
08/04/20     SBK         Telephone call with E. McGrady, C. Hiner, Ducera          0.80   $1,276.00
                         and O’Melveny regarding potential stalking horse bid
                         (.5); analysis of bids (.3).
08/04/20     SBK         Attend restructuring committee call.                      1.30   $2,073.50
08/04/20     LHL         Review pension correspondences.                           0.20     $256.00
08/04/20     EDM         Attend call with S. Kuhn, C. Hiner, Ducera, and           1.60   $1,544.00
                         O’Melveny re stalking horse bid (.5); review bid and
                         related materials (.5); attend sale update call with
                         Akin, Ducera, and O’Melveny (.6).
08/04/20     EDM         Attend restructuring committee meeting.                   1.30   $1,254.50
08/04/20     JFN         Participate in sale update call with Akin, Ducera, and    0.70     $836.50
                         O’Melveny (.6) and review bid re same (.1).
08/04/20     JFN         Participate in restructuring committee call.              1.30   $1,553.50
08/04/20     JFN         Follow up review of cash collateral reporting             0.80     $956.00
                         information (.4, .2) and emails with O’Melveny re
                         same (.1, .1).
08/04/20     SLS         Call with S. Warren regarding next steps for sale         1.90   $3,030.50
                         process (.1); review email from B. Meyer regarding
                         potential stalking horse bid (.1); review email from
                         potential stalking horse bidders (.1); telephone call
                         with Akin, Ducera and O’Melveny teams regarding
                         potential stalking horse bid (.5); email to Special
                         Committee regarding same (.2); review termination
                         events from potential stalking horse (.2); telephone
                         call with E. McGrady regarding potential stalking


      Case 20-81688-CRJ11    Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47               Desc
                              Main Document     Page 23 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                    Page 5
Invoice Number: 1907332                                                                                10/27/20


Date          Tkpr                                                                 Hours      Value
                         horse agreement (.4); telephone call with J. Brown
                         regarding same (.2); telephone call with K. D'Arcy
                         regarding sale process (.1).
08/04/20      SLS        Participate in special committee call (partial).           1.20   $1,914.00
08/04/20      SLS        Attend sale update call with Akin, Ducera, and             0.60     $957.00
                         O’Melveny.
08/05/20      CHH        Emails with J. Newdeck re budget and fee estimate          0.40    $310.00
                         (.1, .1); review materials and email to all timekeepers
                         re same (.2).
08/05/20      SBK        Teleconference with S. Schultz, J. Newdeck, JP             0.60    $957.00
                         Motley and S. Warren re sale update (.4); review
                         bidder asset purchase agreement and E. McGrady
                         email re same (.2).
08/05/20      EDM        Attend restructuring committee meeting (1.2);              1.30   $1,254.50
                         preparations re same (.1).
08/05/20      EDM        Review and comment on bidder asset purchase                2.30   $2,219.50
                         agreement and license agreement (1.8); analyze same
                         (.3); email to S. Kuhn re same and re transaction
                         strategy (.2).
08/05/20      JFN        Attend call with S. Schultz, S. Kuhn, B. Meyer and S.      0.70    $836.50
                         Warren re sale update (.4); review revised asset
                         purchase agreement (.3).
08/05/20      JFN        Participate in restructuring committee update call.        1.20   $1,434.00
08/05/20      JFN        Review cash collateral materials and related reporting     0.30     $358.50
                         requirements.
08/05/20      SLS        Prepare for special committee call (.8); telephone call    2.20   $3,509.00
                         with B. Meyer regarding same (.2); participate in
                         special committee call (1.2).
08/05/20      SLS        Call with B. Meyer, S. Kuhn, J. Newdeck, JP Motley         0.40    $638.00
                         and S. Warren re sale update.
08/06/20      SBK        Teleconference with E. McGrady re status of potential      0.20    $319.00
                         stalking horse deal.
08/06/20      EDM        Review, analyze and comment on asset purchase              5.60   $5,404.00
                         agreement and license agreement (4.8); call with S.
                         Kuhn re potential stalking horse bid (.2); call with S.
                         Schultz re same (.1); communications with
                         O’Melveny re same (.3, .2).
08/06/20      SLS        Telephone call with E. McGrady regarding potential         0.40    $638.00
                         stalking horse bid (.1); email with S. Warren
                         regarding same (.1); emails with B. Meyer regarding
                         same (.1, .1).
08/07/20      CHH        Emails with H. Lahr re notice of appearance (.1, .1);      0.90    $697.50
                         review same (.1); emails with B. Kemp re same (.1,
                         .1); review materials re same (.2) and email to B.
                         Kemp re same (.1).
08/07/20      CHH        Review J. Newdeck update to restructuring committee        0.60    $465.00
                         and restructuring committee emails re same (.2);
                         review email from interested party re sale process
                         participation (.2); forward same to S. Schultz and
                         review response re same (.1, .1).
08/07/20      BRK        Research CM/ECF notification procedures (.2);              0.80    $296.00
                         emails with C. Hiner re same (.1, .1); complete
                         registration process on behalf of S. Schultz (.4).
08/07/20      SBK        Teleconference with S. Schultz, E. McGrady and J.          0.70   $1,116.50
                         Newdeck re status of bid (.5); emails with E.
                         McGrady and J. Newdeck re comments on note to
                         board re potential stalking horse bid (.2).
08/07/20      EDM        Call with S. Schultz, S. Kuhn and J. Newdeck re: sale      0.50    $482.50


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                              Main Document     Page 24 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                     Page 6
Invoice Number: 1907332                                                                                 10/27/20


Date          Tkpr                                                                  Hours      Value
                         process update and strategy.
08/07/20      JFN        Participate in call with S. Schultz, E. McGrady, and S.     0.90   $1,075.50
                         Kuhn re status of sale process (.5); emails with S.
                         Kuhn and E. McGrady re note to board re same (.2);
                         draft email to restructuring committee re same (.2).
08/07/20      SLS        Telephone call with S. Kuhn, E. McGrady and J.              0.60    $957.00
                         Newdeck regarding status of stalking horse bid (.5);
                         respond to inquiry regarding participation in sale
                         process from potential bidder (.1).
08/07/20      SLS        Telephone call with A. Andromalos regarding final           0.30    $478.50
                         cash collateral order.
08/08/20      JFN        Review cash collateral order (.5) and email to S.           0.60    $717.00
                         Schultz re same (.1).
08/09/20      SLS        Review revisions to cash collateral order (.1); email to    0.20    $319.00
                         counsel for lenders regarding same (.1).
08/10/20      AEB        Analyze licensing requirements and potential impact         1.00   $1,015.00
                         on proposed transactions (.3); draft summary of key
                         points for same (.2); call with E. McGrady re same
                         (.5).
08/10/20      CHH        Emails with J. Newdeck and S. Schultz re hearing on         0.90    $697.50
                         cash collateral and bid procedures (.1, .1); review
                         docket and calendar same (.2); review materials re J.
                         Newdeck inquiry re same (.2); review status
                         conference transcript and email same to S. Schultz
                         and J. Newdeck (.3).
08/10/20      EDM        Review licensing agreement (.3); call with A.               0.80    $772.00
                         Borkovic re licensing issues (.5).
08/10/20      JFN        Review cash collateral reporting requirements and           0.20    $239.00
                         materials re same.
08/10/20      SLS        Telephone call with S. Warren regarding parties’            0.30    $478.50
                         comments to cash collateral order.
08/11/20      SD         Call with A. Anderson, D. Lima, and H. Jacobson re          0.60    $606.00
                         tax audit issues.
08/11/20      CHH        Coordinate restructuring committee call.                    0.20    $155.00
08/11/20      CHH        Review final second day order (.2); review emails           0.60    $465.00
                         from S. Schultz and J. Newdeck (.1) and review
                         docket re same (.1); coordinate calendar re same (.2).
08/11/20      CHH        Emails with J. Newdeck re hearing (.1, .1); review          1.30   $1,007.50
                         materials re inquiry re same (.5); attend second day
                         hearing (.6).
08/11/20      HBJ        Call with A. Anderson, D. Lim, and S. Davidov re tax        0.40    $496.00
                         audit issues (partial).
08/11/20      SBK        Call with E. McGrady and O’Melveny re bid process           0.80   $1,276.00
                         and bankruptcy update.
08/11/20      EDM        Attend court hearing.                                       0.60     $579.00
08/11/20      EDM        Review and revise bid process letter and transmit           1.80   $1,737.00
                         same to O’Melveny (.9); call with S. Kuhn and
                         O’Melveny re bid process updates and bankruptcy
                         case strategy (.8); follow up email to S. Schultz re
                         same (.1).
08/11/20      JFN        Review revised bid procedure pleadings (.6); emails         1.00   $1,195.00
                         with S. Schultz re same (.1, .1) and with O’Melveny
                         (.1, .1) re same.
08/11/20      JFN        Emails with C. Hiner re hearing issues (.1, .1); review     0.30    $358.50
                         pleadings re same (.1).
08/11/20      JFN        Emails with S. Schultz and C. Hiner re case issues and      0.40    $478.00
                         docket entries (.2); review recently filed pleadings re
                         same (.2).


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                              Main Document     Page 25 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                      Page 7
Invoice Number: 1907332                                                                                  10/27/20


Date         Tkpr                                                                    Hours       Value
08/11/20     JFN         Review cash collateral reporting issues.                     0.20     $239.00
08/11/20     SLS         Participate in second day hearings (.6); call with J.        0.70   $1,116.50
                         Brown regarding same (.1).
08/11/20     SLS         Review response to bid procedure comments (.2);              0.60    $957.00
                         emails with J. Newdeck re same (.1, .1); review
                         revised bid procedures and bid procedure order (.2).
08/12/20     SD          Call with H. Jacobson re tax audit (.3); call with H.        0.40    $404.00
                         Jacobson and S. Schultz re same (.1).
08/12/20     CHH         Emails with J. Newdeck re advisor precall (.1, .1);          0.40    $310.00
                         emails with J. Newdeck re liquidity materials and
                         email to restructuring committee re same (.2).
08/12/20     CHH         Review email from S. Schultz re sale inquiry (.1);           2.10   $1,627.50
                         review emails and materials re same (.1); research re
                         same (.3); draft results of research and email to S.
                         Schultz re same (.2); review Sandy Hook litigation
                         materials re same and Sandy Hook motion to
                         reconstitute creditors' committee (.3); emails to S.
                         Schultz and J. Newdeck re same (.1, .1); emails with
                         B. Kemp re same (.2); review and circulate objections
                         to bid procedures and cash collateral (.7).
08/12/20     HBJ         Call with S. Davidov re tax audit (.3); call with S.         0.80    $992.00
                         Schultz and S. Davidov re tax audit and upcoming
                         Board meeting (.1); follow up review of case law re
                         same (.4).
08/12/20     BRK         Confer with C. Hiner re notifications and filed              0.20     $74.00
                         pleadings.
08/12/20     SBK         Emails with O’Melveny re creditors’ information              0.60    $957.00
                         requests (.3); emails with E. McGrady re revised
                         process letter from Ducera and bid procedures (.2);
                         review same (.1).
08/12/20     SBK         Telephone conference with Akin, O’Melveny and                1.70   $2,711.50
                         Ducera re sale update (.5); prepare for restructuring
                         committee call (.2); attend restructuring committee
                         call (1).
08/12/20     EDM         Emails with S. Kuhn re bid procedures issues.                0.20     $193.00
08/12/20     EDM         Pre-call with Akin, O’Melveny, Ducera, and M-III             1.70   $1,640.50
                         (.5); prepare for restructuring committee call (.2);
                         attend restructuring committee call. (1).
08/12/20     JFN          Emails with C. Hiner re advisor precall (.1, .1);           3.50   $4,182.50
                         consider open issues (.3) and communications with
                         O’Melveny/Ducera/M-III re same (.1, .1); precall with
                         O’Melveny, Ducera, M-III, and Akin (.5); research in
                         preparation for restructuring committee call and
                         review materials re same (1.1); emails with C. Hiner
                         re liquidity materials and restructuring committee
                         email (.2); participate in restructuring committee call
                         (1).
08/12/20     SLS         Pre-call with Akin, O’Melveny, Ducera and M-III              2.10   $3,349.50
                         regarding special committee call (.5); follow-up
                         research to prepare for same (.6); participate in special
                         committee call (1.0).
08/12/20     SLS         Telephone call with S. Kuhn regarding sale process.          0.40    $638.00
08/12/20     SLS         Call with H. Jacobson and S. Davidov regarding tax           0.10    $159.50
                         audit.
08/13/20     CHH         Review J. Newdeck inquiry re pleadings (.1, .1);             1.00    $775.00
                         review and circulate UCC objection to bid procedures
                         (.2); review and circulate UCC objection to cash
                         collateral (.6).


      Case 20-81688-CRJ11     Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                               Main Document     Page 26 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                     Page 8
Invoice Number: 1907332                                                                                 10/27/20


Date         Tkpr                                                                   Hours       Value
08/13/20     CHH         Coordinate restructuring committee call.                    0.20     $155.00
08/13/20     EDM         Review Committee objections to bid procedures and           1.10   $1,061.50
                         cash collateral order.
08/14/20     CHH         Review and circulate Debtors' response to motion to         0.20    $155.00
                         reconstitute UCC.
08/14/20     CHH         Attend status conference (1.3); emails with M.              1.50   $1,162.50
                         Brimmage, and L. Leyden re hearing on bid
                         procedures (.2).
08/14/20     HBJ         Follow-up review of materials re tax audit.                 0.20    $248.00
08/14/20     BRK         Follow-up emails with C. Hiner re ECF notifications.        0.20     $74.00
08/14/20     SBK         Call with S. Schultz re sale timeline.                      0.30    $478.50
08/14/20     LHL         Review UMWA objection to bid procedures (.5);               0.70    $896.00
                         emails with M. Brimmage and C. Hiner re bid
                         procedures hearing (.2).
08/14/20     SLS         Telephone call with S. Warren regarding cash                0.90   $1,435.50
                         collateral discussion (.4); review revisions to same
                         (.5).
08/14/20     SLS         Call with S. Kuhn related to sale process timeline (.3);    0.50    $797.50
                         telephone call with S. Warren regarding same (.2).
08/14/20     SLS         Participate in telephonic status conference.                1.30   $2,073.50
08/16/20     SLS         Review UCC's objection to use of cash collateral (.4);      1.60   $2,552.00
                         review reply to same (.7); email to S. Warren
                         regarding same (.1); telephone call with S. Warren
                         regarding same (.4).
08/17/20     JMC         Review correspondence from C. Hiner and L. Leyden           0.60    $585.00
                         re sale motion (.2); review Debtors' sale motion and
                         bidding procedures (.4).
08/17/20     CHH         Emails with S. Schultz and J. Newdeck re upcoming           1.70   $1,317.50
                         hearing (.1); review pleadings and compile re same
                         (1.2); email to S. Schultz and J. Newdeck re same
                         (.1); email to M. Brimmage and L. Leyden re same
                         (.1); revise same and email to S. Schultz, L. Leyden,
                         and M. Brimmage re same (.2).
08/17/20     CHH         Review and circulate debtors' reply in support of cash      3.50   $2,712.50
                         collateral and notes on same for hearing (1); review
                         and circulate debtors' reply in support of bid
                         procedures and notes on same for hearing (1.1);
                         review and circulate declarations in support re same
                         (.7); emails with L. Leyden re bid procedure and
                         retrieve same (.2); emails with L. Leyden and J.
                         Chatalian re same and asset purchase agreement (.2);
                         review and circulate Sandy Hook families' 2004
                         motion (.2) and email to S. Schultz re same (.1).
08/17/20     CHH         Review and circulate United Mine Workers' motion to         0.40    $310.00
                         direct appointment to UCC (.2); review and circulate
                         Teague creditors' motion response to Sandy Hook
                         families' motion to reconstitute UCC (.2).
08/17/20     CHH         Coordinate restructuring committee call and emails          0.30    $232.50
                         with J. Newdeck re same.
08/17/20     HBJ         Review materials re tax audit.                              0.10     $124.00
08/17/20     LHL         Emails with C. Hiner re bid procedures (.2); review         5.30   $6,784.00
                         bid procedures, form asset purchase agreement and
                         status conference transcript re labor concerns (3.0);
                         review district case law and materials re same (1.4);
                         telephone conference with S. Schultz re bid
                         procedures motion and labor issues (.5); emails with
                         C. Hiner and J. Chatalian re same (.2).
08/17/20     EDM         Review Committee, Sandy Hook Families, and                  0.80    $772.00


      Case 20-81688-CRJ11    Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                              Main Document     Page 27 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                     Page 9
Invoice Number: 1907332                                                                                 10/27/20


Date          Tkpr                                                                  Hours      Value
                         UMWA’s objections to bid procedures (.6) and
                         debtors’ reply re same (.2).
08/17/20      SLS        Review cash collateral proposal (.3); email with S.         0.40    $638.00
                         Warren regarding same (.1).
08/17/20      SLS        Telephone call with L. Leyden regarding labor issues.       0.50     $797.50
08/17/20      SLS        Review UCC objection to bid procedures order (.5);          2.10   $3,349.50
                         review Sandy Hook Families’ objection to same (.4);
                         review union's objection to same (.4); review omnibus
                         reply to objections to bid procedures order (.8).
08/18/20      MLB        Prepare for and participate in hearing (partial).           1.80   $2,871.00
08/18/20      CHH        Emails with J. Newdeck re earnings call (.2); review        0.30     $232.50
                         materials and emails re same (.1).
08/18/20      SBK        Review email from S. Schultz re sale process                0.20    $319.00
                         milestones.
08/18/20      LHL        Attend bid procedures hearing (1.9); review                 2.80   $3,584.00
                         documents in preparation for same (.9).
08/18/20      EDM        Attend bid procedures hearing (partial).                    1.80   $1,737.00
08/18/20      EDM        Draft committee meeting minutes.                            2.60   $2,509.00
08/18/20      JFN        Call with O’Melveny re cash collateral (.2); review         0.40     $478.00
                         materials related to same (.2).
08/18/20      JFN        Emails with C. Hiner re quarterly company report            0.20    $239.00
                         teleconference.
08/18/20      SLS        Participate in hearing (1.9); follow-up call with S.        2.20   $3,509.00
                         Warren regarding same (.3).
08/19/20      CHH        Emails with J. Newdeck re restructuring committee           0.30    $232.50
                         call.
08/19/20      SBK        Telephone conference with S. Schultz re revised sale        0.60    $957.00
                         process schedule (.3); review status conference
                         transcript re same (.3).
08/19/20      SBK        Attend pre-call with Akin, O’Melveny, M-III and             1.50   $2,392.50
                         Ducera (.5); email to S. Schultz re same (.1);
                         telephone conference with restructuring committee
                         (.9).
08/19/20      EDM        Attend precall with Akin, Ducera, O’Melveny, and            6.20   $5,983.00
                         M-III (.5); attend restructuring committee call (.9);
                         draft restructuring committee minutes (4.8).
08/19/20      JFN        Emails with C. Hiner re upcoming restructuring              2.80   $3,346.00
                         committee meeting (.3); prepare agenda re same (.1,
                         .1); emails with O’Melveny, Ducera, and M-III re
                         same (.1, .1); review liquidity materials for call (.4);
                         follow up communications with O’Melveny, Ducera,
                         and M-III re same (.1, .1, .1); participate in precall
                         with Akin, O’Melveny, Ducera, and M-III (.5);
                         participate in restructuring committee call (.9).
08/19/20      SLS        Call with S. Kuhn re sale timeline. Pre-call with           1.70   $2,711.50
                         O’Melveny, M-III, and Ducera regarding same (.5);
                         participate in special committee call (.9).
08/20/20      EDM        Draft restructuring committee minutes.                      3.10   $2,991.50
08/20/20      JFN        Review materials re UCC lien investigation request.         0.20     $239.00
08/21/20      CHH        Review Q2 earnings materials ahead of call (.2);            0.60     $465.00
                         attend Q2 earning call (.2); email summary to S.
                         Schultz and J. Newdeck re same (.2).
08/21/20      CHH        Emails with J. Newdeck and A. Praestholm re                 0.30    $232.50
                         discovery requests and review materials re same.
08/21/20      SBK        Emails with Ducera re potential bidder request.             0.30    $478.50
08/21/20      SBK        Telephone conference with S. Schultz, J. Newdeck            0.50    $797.50
                         and E. McGrady re UCC document request.
08/21/20      EDM        Call with S. Schultz, J. Newdeck, and S. Kuhn re            0.80    $772.00


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                              Main Document     Page 28 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                   Page 10
Invoice Number: 1907332                                                                                10/27/20


Date          Tkpr                                                                 Hours      Value
                         UCC document request (.5); compile committee
                         minutes in connection with document production (.3).
08/21/20      JFN        Call with S. Schultz, S. Kuhn, and E. McGrady re           0.80    $956.00
                         UCC document request (.5); emails with C. Hiner and
                         A. Praestholm re same and review materials re same
                         (.3).
08/21/20      ACP        Emails with J. Newdeck and C. Hiner re production of       0.50    $325.00
                         special committee minutes in connection with
                         committee investigation (.3); review materials re same
                         (.2).
08/21/20      SLS        Call with S. Kuhn, J. Newdeck and E. McGrady               0.50    $797.50
                         regarding UCC information request.
08/23/20      ACP        Apply redactions to minutes of Special Committee           0.60    $390.00
                         meetings for production to the UCC.
08/23/20      SLS        Telephone call with S. Warren regarding preliminary        0.30    $478.50
                         indications of interest.
08/24/20      CHH        Review materials re indications of interest and sale       1.30   $1,007.50
                         update from Ducera (.9); review bid procedures order
                         re S. Schultz inquiry and calendar same (.3); review
                         emails from S. Schultz and Ducera re sale update call
                         (.1).
08/24/20      CHH        Coordinate restructuring committee call.                   0.20     $155.00
08/24/20      SBK        Review summary deck from Ducera re indications of          0.70   $1,116.50
                         interest (.3); telephone conference with S. Schultz and
                         E. McGrady re same (.4).
08/24/20      EDM        Review indications of interest (.9); call with S. Kuhn     1.30   $1,254.50
                         and S. Schultz re same (.4).
08/24/20      ACP        Apply redactions to minutes of the Special Committee       1.60   $1,040.00
                         in connection with UCC investigation.
08/24/20      SLS        Review information regarding indications of interest       1.10   $1,754.50
                         (.7); telephone call with S. Kuhn and E. McGrady
                         regarding same (.4).
08/25/20      CHH        Attend advisors call with Akin, O’Melveny, and             0.60    $465.00
                         Ducera re sales update (partial).
08/25/20      CHH        Review document production (1.7) and emails with A.        3.10   $2,402.50
                         Praestholm re same (.2); emails with J. Newdeck and
                         A. Praestholm re same (.3); review J. Newdeck
                         inquiries re same (.2) and A. Praestholm emails re
                         same (.1); review and circulate UCC's 2004 motion
                         (.2); summarize same re S. Schultz inquiry (.2);
                         emails to S. Schultz re same (.1, .1).
08/25/20      CHH        Emails with S. Schultz and J. Newdeck re                   0.20    $155.00
                         restructuring committee call and coordinate same.
08/25/20      HBJ        Further review of tax audit and other tax issues.          0.20     $248.00
08/25/20      SBK        Review and circulate comments to draft restructuring       1.20   $1,914.00
                         committee minutes.
08/25/20      SBK        Telephone conference with Akin, Ducera and                 0.50    $797.50
                         O’Melveny re update on bid process and indication of
                         interests (partial).
08/25/20      EDM        Call with Akin, Ducera, and O’Melveny re indications       1.40   $1,351.00
                         of interest and other sale process issues (.7); review
                         indications of interests (.7).
08/25/20      JFN        Emails with A. Praestholm and C. Hiner re UCC              1.30   $1,553.50
                         discovery requests (.3); review materials for
                         production (.8) and follow up emails with A.
                         Praestholm and C. Hiner re same (.2).
08/25/20      JFN        Review indication of interests (.7); attend call with      2.00   $2,390.00
                         Akin, Ducera, and O’Melveny re same (.7); review


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                              Main Document     Page 29 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                    Page 11
Invoice Number: 1907332                                                                                 10/27/20


Date          Tkpr                                                                  Hours      Value
                         other sale update materials re same (.6).
08/25/20      ACP        Prepare minutes of the Special Committee for                0.70    $455.00
                         production to the UCC (.2); emails with C. Hiner re
                         same (.2); emails with J. Newdeck and C. Hiner re
                         same (.3).
08/25/20      SLS        Call with Ducera, O’Melveny and Akin regarding              0.70   $1,116.50
                         indications of interest.
08/25/20      SLS        Telephone call with S. Warren regarding UCC's 2004          0.20    $319.00
                         motion (.1); email to C. Hiner regarding same (.1).
08/26/20      SMC        Prepare committee minutes for production.                   0.30     $99.00
08/26/20      CHH        Review motion to vacate lease rejection order and           0.70    $542.50
                         coordinate calendar re hearing re same. (.3); review
                         and circulate bankruptcy administrator's motion to
                         appoint fee examiner (.2); review and circulate sandy
                         hook families' report regarding discovery and 2004
                         motion (.2).
08/26/20      CHH        Emails with J. Newdeck re response to 2004 motion           4.80   $3,720.00
                         (.1, .1, .1); review draft materials re same (.3); draft
                         joinder to objection to 2004 motion and research re
                         same (2); review J. Newdeck email to restructuring
                         committee re same and emails re same (.2); emails
                         with D. Meek re 2004 response (.2); review
                         O’Melveny draft objection to 2004 motion (.3); edit
                         joinder re same (.3); emails with S. Schultz and J.
                         Newdeck re same (.2); finalize joinder (.8); review
                         emails from O’Melveny re same and committee
                         discussions (.2).
08/26/20      SBK        Emails with E. McGrady re proposed redacted                 0.80   $1,276.00
                         restructuring committee minutes for production (.2);
                         review redacted minutes (.5); follow-up with E.
                         McGrady re same (.1).
08/26/20      EDM        Emails with S. Kuhn re restructuring committee              1.60   $1,544.00
                         minutes (.2); review and revise committee minutes
                         (1.3); call with S. Kuhn re same (.1).
08/26/20      JFN        Review UCC 2004 motion and discovery requests (.5,          5.10   $6,094.50
                         .2); email with S. Schultz re same (.1); draft objection
                         points (1.6) and review precedent (.6) re same; emails
                         with O’Melveny re status of draft objection to same
                         (.3); email restructuring committee re same (.2, .2);
                         review draft joinder/objection (.2, .1) and emails with
                         C. Hiner re same (.1, .1); review Debtors’ draft
                         objection (.2) and further emails with C. Hiner re
                         same (.1); emails with S. Schultz and C. Hiner re
                         UCC production (.2) and with O’Melveny (.2); review
                         production issues related to same (.2).
08/26/20      ACP        Prepare minutes of the Special Committee for                0.30    $195.00
                         production to the UCC.
08/26/20      SLS        Review outline of proposed 2004 response (.2); email        2.40   $3,828.00
                         with J. Newdeck regarding same (.1); review Special
                         Committee note regarding same (.1); telephone call
                         with J. Taylor regarding same (.2); review Debtors'
                         objection to 2004 motion (.3); review Special
                         Committee draft joinder to same (.3); review Debtors'
                         objection to Sandy Hook Families’ 2004 motion (.4);
                         review Sandy Hook Families’ statement regarding
                         2004 motion (.6); emails with J. Newdeck and C.
                         Hiner re Special Committee response (.2).
08/27/20      CHH        Review and circulate Sandy Hook Families' reply to          0.70    $542.50


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                 Desc
                              Main Document     Page 30 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                   Page 12
Invoice Number: 1907332                                                                                10/27/20


Date          Tkpr                                                                 Hours      Value
                         2004 motion (.2); review and circulate Seguin motion
                         for relief from stay (.2); Review interim compensation
                         procedures (.2); email to J. Newdeck and S. Schultz re
                         same (.1).
08/27/20      CHH        Review agenda and emails re same (.1); review              2.20   $1,705.00
                         materials from Ducera in preparation for restructuring
                         committee call (.4); attend restructuring committee
                         precall with Akin, O’Melveny, and Ducera (.5); attend
                         restructuring committee call (1.2).
08/27/20      CHH        Attend hearing telephonically (partial).                   1.60   $1,240.00
08/27/20      SBK        Review restructuring committee meeting materials in        2.00   $3,190.00
                         preparation for restructuring committee call (.3);
                         attend pre-call with Akin, O’Melveny and Ducera re
                         prep for restructuring committee call (.5); attend
                         restructuring committee call (1.2).
08/27/20      EDM        Pre-call with Akin, O’Melveny, and Ducera advisors         1.70   $1,640.50
                         (.5); attend restructuring committee call (1.2).
08/27/20      JFN        Review global notes and filed schedules/statement          2.00   $2,390.00
                         (1.8); email to S. Schultz re same (.2).
08/27/20      JFN        Attend hearing.                                            1.80   $2,151.00
08/27/20      JFN        Review materials for restructuring committee call (.5);    2.60   $3,107.00
                         consider agenda items for restructuring committee call
                         (.2); email agenda to O’Melveny, Ducera, and M-III
                         (.1) and restructuring committee (.1); participate in
                         precall with Akin, O’Melveny, and Ducera (.5);
                         participate in restructuring committee call (1.2).
08/27/20      SLS        Participate in hearing.                                    1.80   $2,871.00
08/27/20      SLS        Participate in precall with Akin, O’Melveny, and           1.70   $2,711.50
                         Ducera (.5) and call (1.2) with special committee.
08/28/20      CHH        Review emails and comments from E. McGrady and             0.50    $387.50
                         S. Schultz re revised asset purchase agreement (.2);
                         review S. Kuhn inquiry re 8/27 hearing (.2); email to
                         S. Kuhn re same (.1).
08/28/20      SBK        Review transcript of August 27 hearing (.4); email to      0.90   $1,435.50
                         C. Hiner re same (.1); Call with E. McGrady re asset
                         purchase agreement (.4).
08/28/20      EDM        Review form APA (.3); call with S. Kuhn re same            1.20   $1,158.00
                         (.4); calls with Committee and O’Melveny re same
                         (.3, .2).
08/28/20      SLS        Review draft 2004 order for restructuring committee.       0.30     $478.50
08/28/20      SLS        Review materials regarding liquidation of real             1.60   $2,552.00
                         property (.5); telephone call with S. Warren regarding
                         same (.2); review updated materials regarding sale
                         process and additional indications of interests (.9).
08/30/20      CHH        Review new indication of interest materials from           0.20    $155.00
                         Ducera.
08/30/20      SBK        Review latest indications of interests from Ducera         0.40    $638.00
                         (.2); email to E. McGrady re same (.2).
08/31/20      JMC        Correspondences with L. Leyden, G. O'Donnell, and          1.00    $975.00
                         J. Kohn re labor materials (.5); review revised labor
                         documents re same (.5).
08/31/20      CHH        Emails with J. Newdeck re UCC 2004 motion (.1, .1);        0.30    $232.50
                         review docket and O’Melveny emails re same (.1).
08/31/20      SBK        Emails with E. McGrady re latest indications of            0.30    $478.50
                         interest (.2); review same (.1).
08/31/20      LHL        Review and comment on labor documents (3.0);               3.50   $4,480.00
                         correspond with J. Kohn, J. Chatalian and G.
                         O’Donnell re same (.5).


       Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                Desc
                              Main Document     Page 31 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                                                       Page 13
Invoice Number: 1907332                                                                                                    10/27/20


 Date             Tkpr                                                                              Hours         Value
 08/31/20         EDM            Emails with S. Kuhn re indication of interests (.2);                0.60       $579.00
                                 review indications of interests (.4).
 08/31/20         JFN            Emails with C. Hiner re status of UCC 2004 motion                    0.50      $597.50
                                 (.1, .1); review adjournment order (.1); emails with
                                 O’Melveny re status of UCC 2004 motion (.1, .1).
 08/31/20         GMO            Review revised labor documents (.1) and correspond                   0.60      $435.00
                                 with L. Leyden, J. Kohn, and J. Chatalian re same
                                 (.5).
 08/31/20         SLS            Telephone call with S. Warren regarding potential                    0.50      $797.50
                                 stalking horse and other sale related issues (.4); email
                                 update to S. Kuhn, E. McGrady, J. Newdeck and C.
                                 Hiner regarding same (.1).

                                                                             Total Hours            245.30


TIMEKEEPER TIME SUMMARY:
 Timekeeper                              Hours                Rate                 Value
 SARAH L. SCHULTZ                        47.20     at       $1595.00    =     $75,284.00
 HOWARD B. JACOBSON                       1.70     at       $1240.00    =      $2,108.00
 STEPHEN B. KUHN                         24.40     at       $1595.00    =     $38,918.00
 LAUREN H. LEYDEN                        17.90     at       $1280.00    =     $22,912.00
 ANNE E. BORKOVIC                         1.00     at       $1015.00    =      $1,015.00
 MARTY L. BRIMMAGE JR.                    1.80     at       $1595.00    =      $2,871.00
 ERICA D. MCGRADY                        50.40     at        $965.00    =     $48,636.00
 JOANNA F. NEWDECK                       39.30     at       $1195.00    =     $46,963.50
 JON M. CHATALIAN                         4.20     at        $975.00    =      $4,095.00
 SHARON DAVIDOV                           1.90     at       $1010.00    =      $1,919.00
 GRACE M. O'DONNELL                       1.40     at        $725.00    =      $1,015.00
 CHANCE H. HINER                         48.90     at        $775.00    =     $37,897.50
 AMANDA PRAESTHOLM                        3.70     at        $650.00    =      $2,405.00
 BRENDA R. KEMP                           1.20     at        $370.00    =        $444.00
 SUZANNE M. CSIZMADIA                     0.30     at        $330.00    =         $99.00

                                      Current Fees                                                           $286,582.00



FOR COSTS ADVANCED AND EXPENSES INCURRED:
 Date                                                                                       Value
 07/28/20     Court Cost VENDOR: SARAH L. SCHULTZ                                           19.00
              INVOICE#: 4226274507282206 DATE: 7/28/2020
              Court Costs, 07/28/20, Certificate of Good Standing,
              U.S. District Court

                  Current Expenses                                                                               $19.00

                  Total Amount of This Invoice                                                               $286,601.00




       Case 20-81688-CRJ11            Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                           Desc
                                       Main Document     Page 32 of 38
                                                REMITTANCE COPY

                                                 Return with Payment

INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR                                   Client Number:          102253
COMPANY, INC.                                                                             Invoice Number:        1907332
ATTN: JEFF BROWN                                                                          Invoice Date:          10/27/20
100 ELECTRONICS BLVD SW
HUNTSVILLE, AL 35824


                                                                                          FED I.D. NO.         XX-XXXXXXX


         Total Amount of This Invoice                                                                            $286,601.00

      Summary of Accounts Receivable:

         Date             Invoice #              Amount                Credits           Balance

                                                                  $0                $0                   $0

                                                Prior Balance Due                                                           $0

                                                 Total Balance Due Upon Receipt                                  $286,601.00


     Please let us know promptly should your records reflect a different balance.




                     Akin Gump Strauss Hauer & Feld LLP | Dept 2909 | Carol Stream, IL 60132-2909
    Case 20-81688-CRJ11     Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                                 Desc
                              Main Document                   Page 33 of 38
                                           REMITTANCE COPY

                                            Return with Payment

INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY,                              Invoice Number    1907332
INC.                                                                                          Invoice Date      10/27/20
ATTN: JEFF BROWN                                                                              Client Number      102253
100 ELECTRONICS BLVD SW                                                                       Matter Number         0001
HUNTSVILLE, AL 35824




                                             FED I.D. NO. XX-XXXXXXX



                                    If sending remittance via Postal Mail
                                               please remit to:

                            AKIN GUMP STRAUSS HAUER & FELD LLP
                                                    DEPT 2909
                                           Carol Stream, IL 60132-2909



                                If sending remittance via Overnight Courier
                                              please remit to:

                                       CITICORP SERVICES, INC.
                                              Third Floor Lockbox
                                                  DEPT 2909
                                          8430 West Bryn Mawr Avenue
                                               Chicago, IL 60631

                                      If sending remittance via Wire
                                   Please use the following instructions:

                            AKIN GUMP STRAUSS HAUER & FELD LLP
                                    CITI PRIVATE BANK
                                         1101 Pennsylvania Avenue, NW
                                                   Suite 900
                                             Washington, DC 20004

                                              Account #: 9250397941
                                                ABA# 254070116
                                      Ref: 102253/0001, Invoice No. 1907332

                        (For wires originating outside the US reference Swift ID# CITIUS33)




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    Case 20-81688-CRJ11     Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                            Desc
                              Main Document                   Page 34 of 38
                              EXHIBIT B




Case 20-81688-CRJ11   Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47   Desc
                       Main Document     Page 35 of 38
 INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY,                                             Invoice Number    1907332
 INC.                                                                                                         Invoice Date      10/27/20
 ATTN: JEFF BROWN                                                                                             Client Number      102253
 100 ELECTRONICS BLVD SW                                                                                      Matter Number         0001
 HUNTSVILLE, AL 35824



Re: RESTRUCTURING



FOR PROFESSIONAL SERVICES RENDERED:


MATTER SUMMARY OF TIME BILLED BY TASK :
                                                                     HOURS                    VALUE
002      General Case Administration                                   12.10                 $9,353.50
008      Court Hearings                                                33.60                $40,910.00
009      Financial Reports and Analysis                                 3.10                 $3,326.50
010      DIP, Cash Collateral Usage and Exit                            6.30                 $9,048.50
         Financing
017      General Adversary Proceedings/Litigation                       27.50               $28,344.50
         Matters
018      Tax Issues                                                      4.30                $4,903.50
019      Labor Issues/Employee Benefits                                 22.90               $26,881.00
020      Board Meetings and Communications                              55.90               $68,541.50
023      Asset Depositions and Liquidation/363 Asset                    77.80               $93,486.00
         Sales
033      Regulatory Issues                                               1.80                 $1,787.00

                                               TOTAL                  245.30               $286,582.00




                               Akin Gump Strauss Hauer & Feld LLP | Dept 2909 | Carol Stream, IL 60132-2909


      Case 20-81688-CRJ11             Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47                                  Desc
                                       Main Document     Page 36 of 38
INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY, INC.                          Page 2
Invoice Number: 1907332                                                                      10/27/20



FOR COSTS ADVANCED AND EXPENSES INCURRED:
                                                     Value
             Filing Fees                            $19.00

             Current Expenses                                                       $19.00

             Total Amount of This Invoice                                      $286,601.00




     Case 20-81688-CRJ11        Doc 1049 Filed 10/28/20 Entered 10/28/20 15:03:47   Desc
                                 Main Document     Page 37 of 38
                                           REMITTANCE COPY

                                            Return with Payment

INDEPENDENT DIRECTORS OF THE BOARD OF REMINGTON OUTDOOR COMPANY,                              Invoice Number    1907332
INC.                                                                                          Invoice Date      10/27/20
ATTN: JEFF BROWN                                                                              Client Number      102253
100 ELECTRONICS BLVD SW                                                                       Matter Number         0001
HUNTSVILLE, AL 35824




                                             FED I.D. NO. XX-XXXXXXX



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                              Main Document                   Page 38 of 38
